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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                              SAN JOSE DIVISION
                                  Honorable Edward J. Davila
                                    Courtroom 4 - 5th Floor

                    TITLE: USA v. ELIZABETH HOLMES
                     CASE NUMBER: 18-cr-00258-EJD-1
                                 Minute Order and Trial Log
Date: 8/31/2021
Time in Court: 8:55-11:13am,11:23-12:05pm,1:19-3:15,3:24-5:05pm
(TOTAL time: 6 hrs. 37 mins.)
Courtroom Deputy Clerk: Adriana M. Kratzmann
Court Reporter: Irene Rodriguez
______________________________________________________________________________
APPEARANCES:
Plaintiff Attorney(s) present: Jeffrey Schenk, John Bostic, Robert Leach, Kelly Volkar
Also present: Agent Adelaida Hernandez
Defendant Attorney(s) present: Kevin Downey, Lance Wade, Amy Saharia, Katherine Trefz,
Richard Cleary, John Cline
Also present: Elizabeth Holmes (Out-custody)
______________________________________________________________________________
PROCEEDINGS: Jury Selection (Day 1)

Jury Selection held. Further Jury Selection to be held September 1, 2021 to begin at 9:30 a.m.
Counsel’s presence for 9:00 a.m.

Please see trial log attached.
Further Jury Trial set for


The following exhibits are marked for identification:
Plaintiffs: N/A
Defendants: N/A

The following exhibits are admitted into evidence:
Plaintiffs: N/A
Defendants: N/A

///

                                                                                       Adriana M. Kratzmann
                                                                                           Courtroom Deputy
                                                                                            Original: E-Filed
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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA

                             HONORABLE EDWARD J. DAVILA

                             Case Name: USA v. Elizabeth Holmes
                                  Case No: 5:18cr00258EJD-1

                                         TRIAL LOG

TRIAL DATE:                         REPORTER(S):                         CLERK:
August 31, 2021                     Irene Rodriguez                      Adriana M. Kratzmann

PLF   DEFT         TIME       DESCRIPTION


                  8:55 am     Court in session outside presence of Jury – Defendant is present

                              Court addresses housekeeping matters with the parties

                  10:00 am    Court requests prospective jurors come to courtroom for jury selection

                  10:04 am    Court takes recess for jurors to come to courtroom

                  10:30 am    Court in session, prospective jurors are seated and sworn

                  10:35 am    Jury selection begins

                  10:57 am    Court takes a 15-minute recess

                              Prospective jurors are excused

                  10:58 am    Court in session with Juror #14 (seat F)

                  11:13 am    Court take recess for 7 mins

                  11:23 am    Jurors seated. Court in session jury selection resumes

                  12:00pm     Prospective jurors excused for lunch break

                  12:03pm     Court in session with counsel outside the presence of jury

                  12:05pm     Court takes lunch recess

                  1:19 pm     Court in session. Jury seated. Jury selection continues


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TRIAL DATE:                       REPORTER(S):                       CLERK:
August 31, 2021                   Irene Rodriguez                    Adriana M. Kratzmann

PLF   DEFT         TIME     DESCRIPTION


                  2:10 pm   Government begins voir dire of jury panel

                  3:15 pm   Court takes recess

                  3:24 pm   Court in session outside presence of jury. Defendant waives presence for
                            the individual private conversations with the Court and jurors
                  3:25 pm   Court conducts voir dire with Juror #94 seat KK

                  3:32 pm   Court conducts voir dire with Juror #31 seat N

                  3:34 pm   Court conducts voir dire with Juror #42 seat Q

                  3:42 pm   Prospective Jurors return to courtroom for jury selection

                  3:50 pm   Court conducts sidebar to address challenges for cause. Court and
                            counsel convene in jury room for sidebar discussions
                  4:46 pm   Court in session counsel, defendant and jurors present

                  5:00 pm   Court states on the record the jurors who have been excused for cause
                            and hardship.
                            The Court informs the remaining prospective jurors (Group 1) to be on
                            standby and that they will be notified if they are to serve on the jury
                  5:00 pm   Court in session with counsel outside presence of jury taking up
                            housekeeping matters
                            Court will not SEAL the sidebar portion of the transcript and it will be
                            available to the public
                  5:05 pm   Court adjourned for the day. Further Jury Selection with Group 2,
                            scheduled for Wednesday, September 1, 2021 to begin at 9:30 am with
                            jury seated




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